
WILKINSON, Circuit Judge,
concurring:
I am pleased to concur in Judge Gregory’s opinion in this case. I write simply to emphasize that it does not open the floodgates to debtors receiving discharges from debts brought about by their own fraud or misrepresentation. Rountree’s activity here was nothing if not deceitful as she tracked Nunnery’s behavior on behalf of an insurance company under the cloak of a pretended friendship. To condemn the behavior, however, is not to say that Rountree obtained “money, property, services” or other financial benefit by virtue of her conduct as required by the statute. See 11 U.S.C. § 523(a)(2)(A) (2000).
I suspect this will not be the usual situation. The more common occurrence will reflect the fact that frauds and misrepresentations are committed precisely for the purpose of obtaining that which the statute forbids. See, e.g., Maj. Op. at 221 (discussing Pleasants v. Kendrick, 219 F.3d 372, 374-75 (4th Cir.2000)). As Pleasants illustrates, to be nondischargeable, money need not pass directly to the debtor from the creditor: the statutory language simply does not add that qualification. See 11 U.S.C. § 523(a)(2)(A). With that understanding, I am happy to join Judge Gregory’s very thoughtful opinion.
